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Case 3:94-cv-00991-X Document 131 Filed 09/08/00 Page1of3 PagelD 37

 

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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

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DALLAS DIVISION
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PRINCE JOHNSON, et al., § CLERK, U.S. DIST. UR
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Plaintiffs, § <7
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v. § CIVIL ACTION NO. 3:94-CV-0991-X
§
CITY OF DALLAS, et al. : ENTERED ON DOCKET
Defendants. §
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ORDER

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Before the Court is Plaintiffs’ Motion for Partial Summary Judgment (“Motion”), filed on
September 8, 1999. For the reasons stated below, the Motion is DENIED, and partial summary
judgment is GRANTED for Defendants. In addition, Defendants’ Motion for Leave to File
Defendants’ Second Motion for Summary Judgment, filed on September 1, 2000, is GRANTED.

In their Motion, Plaintiffs, a class of homeless individuals, seek summary judgment on various
federal claims against the City of Dallas’ (“City”) ordinance prohibiting sleeping in certain public
places, codified in Dallas City Code § 31-13. Specifically, Plaintiffs seek summary judgment
declaring that § 31-13 violates the Due Process Clause of the Fourteenth Amendment, the substantive
due process right to travel, the Equal Protection Clause of the Fourteenth Amendment, and the
Eighth Amendment prohibition on cruel and unusual punishment.

Initially, the Court concludes that Plaintiffs have standing to assert these claims, that the Court
has subject matter jurisdiction over them, and that § 31-13 constitutes a city “policy” actionable under

42 U.S.C. § 1983. While the U.S. Court of Appeals for the Fifth Circuit previously held that

Plaintiffs did not have standing to pursue their Eighth Amendment claim because the record did not

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Case 3:94-cv-00991-X Document 131 Filed 09/08/00 Page 2of3 PagelD 38

indicate that any Plaintiff was convicted under § 31-13, that holding was expressly limited to the
Eighth Amendment claim, and the Fifth Circuit necessarily implied that Plaintiffs had standing to
pursue their non-Eighth Amendment claims. Notwithstanding the Fifth Circuit’s decision, the record
reveals that Plaintiffs have been arrested and prosecuted under § 31-13, and will be subject to future
arrest and prosecution, thereby establishing a distinct, traceable, and addressable injury necessary for
standing to challenge § 31-13 before the Court. See Allen v. Wright, 468 U.S. 737, 751, 104 S. Ct.
3315, 3324, 82 L. Ed. 2d 556 (1984). Moreover, § 31-13 constitutes a “policy” actionable under §
1983. See Monell v. New York City Dep’t of Social Servs., 436 U.S. 658, 694, 98 S. Ct. 2018, 2037,
56 L. Ed. 2d 611 (1978); Webster v. City of Houston, 735 F.2d 838, 841 (Sth Cir. 1984).
However, Plaintiffs are not entitled to summary judgment on any of their federal claims
because of prior court holdings. First, Plaintiffs’ due process claim fails because § 31-13 criminalizes
the act of sleeping in a public place, and not the “innocent” act of sleeping. As the Court previously
held, sleeping in a public place is not a fundamental right, see Johnson v. City of Dallas, 860 F. Supp.
344, 358 (NLD. Tex. 1994) (“Johnson P’), rev’d on other grounds, 61 F.3d 442 (5th Cir. 1995)
(“Johnson IT’), and the City may regulate sleeping in public under its police power. Second, § 31-13
does not implicate the right to travel and freedom of movement. Cf Johnson I, 860 F. Supp. at 354
(rejecting the implication of right to travel in upholding other aspects of the City’s homeless policy).
Third, the Court has already held that the homeless do not constitute a suspect or quasi-suspect class,
see id., and while sleeping may arguably be a fundamental right, sleeping in public, which § 31-13
regulates, is not. Cf id. at 357-59. Moreover, regulating sleeping in public does serve a legitimate
purpose of the City in maintaining health and safety even though such regulation may disparately
impact the homeless. See id. Finally, Plaintiffs’ Eighth Amendment claim has been rejected by the

Fifth Circuit for lack of standing. See Johnson IT, 61 F.3d at 445.

JOHNSON vy. CITY OF DALLAS (3:94-CV-0991-X) ORDER
M \USER\3925LCI\CV13\1994099 NORDER 1 Page 2 of 3
Case 3:94-cv-00991-X Document 131 Filed 09/08/00 Page 3of3 PagelD 39

Summary judgment may be entered against the movant if no genuine issues of material fact
exist and summary judgment is proper. See Exxon Corp. v. St. Paul Fire & Marine Ins. Co., 129
F.3d 781, 786 (Sth Cir.1997) (“[A] district court may grant summary judgment for the non-movant
sua sponte.”) (internal quotation marks and citation omitted); FED. R. CIv. P. 56(c), Because there
is no genuine issue of material fact on the above claims, Defendants are entitled to summary
judgment. Therefore, it is

ORDERED that Plaintiffs’ Motion for Summary Judgment is DENIED, and partial summary
judgment is GRANTED for Defendants. Judgment is entered for Defendants on Plaintiffs’ claims
raised in Counts One, Two, Four, Five, and Six of Plaintiffs’ original complaint, and such claims are
DISMISSED WITH PREJUDICE. It is further

ORDERED that this action shall proceed accordingly with respect to Plaintiffs’ Fourth
Amendment and Texas Constitution claims raised in Count Three of their original complaint. It is
further

ORDERED that Defendants’ Motion for Leave to File Defendants’ Second Motion for
Summary Judgment, filed on September 1, 2000, is GRANTED. Defendants may file a second
motion for summary judgment addressing Plaintiffs’ remaining claims within thirty (30) days of the
date of entry of this Order.

It is SO ORDERED.

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JOW KENDALL
UNITED STATES DISTRICT JUDGE

We

Signed on September % , 2000.

JOHNSON v. CITY OF DALLAS (3:94-CV-0991-X) ORDER
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